        Case 3:21-cr-00359-PAD-BJM Document 167 Filed 08/17/22 Page 1 of 3



                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO



UNITED STATES OF AMERICA
Plaintiff,

               vs.                                        CASE NO. 21-00359-005 (PAD)


Luis Roberto Alvarado-Reyes
Defendant
***************************************

                MOTION IN RESPONSE TO COURT ORDER IN DOCKET NO. 166


        COMES NOW, David E. Vázquez-Reyes, U.S. Probation Officer of this Honorable

Court, who respectfully informs that:

        1. On April 11, 2022, the probation officer filed a motion reporting a violation of bail

conditions due to a positive drug test and requested to implement suggested supervision

plan which included participation of the Random Drug Testing Program and continue on

home detention with electronic monitoring (Docket No. 93). The request was granted by

this Honorable Court on April 12, 2022 (Docket No. 94).

        2. On August 1, 2022, Mr. Alvarado-Reyes through counsel, filed a motion

requesting modification of his conditions of release to have the home detention component

and electronic monitoring conditions removed (Dkt. No. 157).

        3. Since the filing of the motion by the probation officer, Mr. Alvarado-Reyes has

maintained a law-abiding lifestyle, continue to have verified employment, has tested

negative to the illegal use of controlled substances in all his drug tests and has complied

with the Court imposed conditions including the restrictions of the Location Monitoring



                                               1
      Case 3:21-cr-00359-PAD-BJM Document 167 Filed 08/17/22 Page 2 of 3




Program. As verified, Mr. Alvarado-Reyes has been fully compliant with the Location

Monitoring program restrictions for over eight (8) months. The probation officer believes

that the home confinement component of Home Detention and the Location Monitoring

Device restrictions are no longer needed in this case, to maintain compliance behavior.

       4. The United States Probation Office uses an actuarial risk assessment tool

approved by the Administrative Office of the United States Courts, the Federal Pre-Trial

Risk Assessment (PTRA), in which the individual’s likelihood of failure to appear,

commission of a new crime and probability of a technical revocation are calculated. Mr.

Alvarado-Reyes’s PTRA Risk Level is 1, which means that he is considered low risk in

terms of probability of non-compliance with the Court imposed conditions. From 2015 to

the present, the District of Puerto Rico has had a bail revocation rate of less than four

percent for failure to appear or re-arrest violations on cases that were assessed as low

risk when using the PTRA actuarial tool (Score between 1 and 3).

       WHEREFORE, in the continued interest of tailoring strategies to successfully

facilitate the desired outcomes of supervision by fashioning the least restrictive conditions

of release to reasonably assure public safety and the defendant’s future court

appearances as required, the probation officer supports the defendant’s request to modify

the conditions of release by removing conditions (7) (p)(ii): "The defendant must participate

in one of the following location restriction programs and comply with its requirements as

directed (Home Detention) and (7)(q)(i): “The defendant must submit to location monitoring

technology as directed by pretrial officer.”




                                               2
      Case 3:21-cr-00359-PAD-BJM Document 167 Filed 08/17/22 Page 3 of 3




       In San Juan, Puerto Rico, this 17th day of August 2022.

                                             Respectfully submitted,

                                             LUIS O. ENCARNACION, CHIEF
                                             U.S. PROBATION OFFICER

                                             s/David E. Vazquez Reyes
                                             David E. Vázquez-Reyes
                                             U.S. Probation Officer
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                                  CERTIFICATE OF SERVICE

      I HEREBY certify that on this date, I electronically filed the foregoing motion with the

Clerk of the Court using the CM/ECF system, and notification of such filling will be sent to

the parties involved via email.

       In San Juan, Puerto Rico, this 17th day of August 2022.

                                             s/David E. Vazquez Reyes
                                             David E. Vázquez-Reyes
                                             U.S. Probation Officer




                                             3
